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6 Attomeys for Plaintiffs
7 UNITED STATES DISTRICT COLRT
FOR THE DISTRICT OF PENNSYLVANIA
#
21 tare: United States Bankruptcy Court
1p Chapter [! Case Nos:
OWLS CORNING, WLR. GRACE & €CO., US0
11 | CORPORATION, USTTED STATES MINERAL G0-383 /IKF
PRODUCTS COMPANY. KAISER C1-11397KF
12 | ALUMINUM CORPORATION, THE 01-2004 IKE
13 FLINTKOTE COMPANY, FLINTROTE OF-247 JRF
MINES LIMITE, 02-104°97R F
14 - 04-11 300KF
Debio, 04-12440
13
16 CERTIFICATE OF SERVICE
17
ig The undersigned certifies that a true and correct copy of the Law Offices of Christopher E.

19 | Greli's Notice of Filing 2019 Statement has been served on all parties of the official service list in
20 | this matter, Duc te the voluminous nature ofthe scrvice list, this office hag not attached a copy uf the
41 | service list hereto. however, wilt make copies available to any party upon request. Said service was

1 compleied by United Sidles First Class Muil, postage prepaid, the AC day of December 2604,

24 | Dated: December 20 . 2004

a3 LAW OFFICES OF CHRISTOPHER E. GRELL

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27 By: Lo, Lj a. Mienither-

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